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AO I99A (Rev. 06/19) Order Setting Conditions of Release                                                      Page I of   ^   Pages




                                        United States District Court
                                                                      for the

                                                           Eastern District of Virginia


                    United States of America
                                                                          )
                                   V.
                                                                          )
                SHEILA C. BYNUM-COLEMAN                                   )        Case No.    3:25-CR-0044-01 (MHL)
                                                                          )
                                                                          )
                               Defendant

                                        ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1)    The defendant must not violate federal, state, or local law while on release.

(2)    The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

(3)    The defendant must advise the court or the pretrial services office or supervising officer in writing before making
       any change of residence or telephone number.

(4)    The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
       the court may impose.
                                                                                 United States Courthouse
       The defendant must appear at:
                                                                                            Place

                                                                     701 East Broad Street, Richmond, VA 23219


       on                                                            3/27/2025 2:30 pm
                                                                         Date and Time


                                                                                          ***ANY TIMES AS DIRECTED BY THE
       If blank, defendant will be notified of next appearance.
                                                                                          COURT, ATTORNEY, OR PRETRIAL/
                                                                                          PROBATION***
(5)    The defendant must sign an Appearance Bond, if ordered.
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AO I99B (Rev. 09/24) Additional Conditions of Release                                                                                                                                      Page 2 of 4 Pages


                                                                ADDITIONAL CONDITIONS OF RELEASE

Pursuant to 18 U.S.C. § 3142(c)(1)(B). the court may impose the following least restrictive eondilion(s) only as necessary to reasonably assure the
appearance of the person as required and the safety of any other person and the community.

       IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:


{ Q ) (6)     The defendant is placed in the custody of:
              Person or organization
              Address (only ifabove is an organization)                       on file with Prelrial

                                                                                                                                                             Tel. No.
              City and state
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian's custody.

                                                                                                      Signed:
                                                                                                                                            Custodian                                                         Date

(0)     (7) The defendant must:
       (0) (a) submit to supervision by and report for supervision to the                                       Probalion and Prccrial Services OfTlce


                    telephone number                           804-916-2500          . no later than                    today, prior lo exiling ihc courthouse

       (□ )   (b)   continue or actively seek employment.
       (0)    (c)   continue or start an education program.
       (0 )   (d)   surrender any passport to:       Pretrial Services or your attorney

       (□)    (e)   not obtain a passport or other international travel document.
       (0)    (0    abide by the following restrictions on personal association, residence, or travel:                                            No travel outside of the Commonwealth of Virginia without the prior pennission

                    of the Court or Pretnal Services.


       (0) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
                    including:         co-defendam, co-conspirator, informant, juror, grand juror, ofticer or agent of the US. local law enrorcement officer, or any person defendant suspects is acting in those capacities
                    without permission of the Court. Defendant may meet with AUSA on advice of counsel. The defendant may speak with her spouse, but not discuss this case

       ( 0 ) (h) get medical or psychiatric treatment:                               Submit to mental health evaluation and comply with any recommended treatment, if directed.



       ( O ) (i) return to custody each                                        at                      o'clock after being released at                                     o'clock for employment, schooling,
                    or the following purposes:

       (□) G) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                    necessary',
       (0) (k) not possess a firearm, destructive device, or other weapon,
       (□) (1) not use alcohol ( n ) at all ( □ ) excessively,
       (0 ) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802. unless prescribed by a licensed
                    medical practitioner,
       (0) (n) submit to testing for a prohibited substance, if required by the pretrial services office or supervising officer. Testing may be used w'ith
                random frequency and may' include urine testing, wearing a sweat patch, submitting to a breathalyzer, and/or any other form of
                prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and
                accuracy of substance screening or testing of prohibited substances,
       (0 ) (o) participate in a program of inpatient or outpatient substance use treatment, if directed by the pretrial services office or supervising
                    officer,

       (□) (P) participate in the remote alcohol testing program using continuous electronic alcohol testing and comply with its requirements as
                    directed, including not consuming alcohol.
               (□ ) pay all or part of the cost of remote alcohol testing, including equipment loss or damage, based upon your ability to pay. as
                      determined by the pretrial services or supervising officer,
       (□) (q) participate in the location monitoring program and comply with the requirements, as directed in subsections i. ii. and iii.
                    i. Following the location restriction component (check one):
                    (□)(!) Curfew. You arc restricted to your residence every day ( O ) f'roiri                      to                 . or ( □ ) as
                            directed by the pretrial services office or supervising officer; or
                    (□)(2) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                           medical, substance use. or mental health treatment; attorney visits: court appearances: court-ordered obligations: activities
                           approved by the court; or essential activities approved in advance by the pretrial services office or supervising officer: or
                    (□)(3) Home Incarceration. You are restricted to 24-hour-a-day lockdown at your residence except for medical necessities and
                           court appearances or activities specifically approved by the court: or
                    (□)(4) Stand-Alone Monitoring. You have no residential component (curfew, home detention, or home incarceration) re.strictions.
                           However, you must comply with the location or travel restrictions as imposed by the court. Note: Stand-alone monitoring
                           should be used in conjunctionwith global positioningsystem (GPS) or virtual mobile application technology.
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AO 199B (Rev. 09/24) Addilional Conditions of Release                                                                                                                                            Page 3 of   Pages


                                                                      ADDITIONAL CONDITIONS OF RELEASE

                 (ii) submit to the following location monitoring technology (check one):
                       (□) (1)           Location monitoring technology as directed by the pretrial services or super\'ising officer: or
                       (□)(2)            GPS: or
                       (□ ) (3)          Radio Frequency: or
                       (D ) (4)          Voice Recognition; or
                       (□ ) (5)          Virtual Mobile Application. You must allow the pretrial services or supervising officer to conduct initial and periodic
                                         inspections of the mobile device and mobile application to verify that 1) the monitoring software is functional. 2) the
                                         required configurations(e.g.. locationalservices)are unaltered, and 3) no efforts have been made to alter the mobile
                                         application,
               (iii) (□ ) pay all or part of the cost of location monitoring, including equipment loss or damage, based upon your ability to pay, as
                                determined by the pretrial services or supervising officer
       { 0 ) (f) report as soon as possible, to the pretrial services or supervising officer, evco' contact with law enforcement personnel, including arrests,
                       questioning, or traffic stops.
       (0) (S) mainiain conucl with your allomcy. If you arc found guilly or plead guilly you musl report lo a probation oRlccr for iho purpose of preparation of a prescmencc report, in the event that you are found
                       guilty or plead guilty, you must be prepared to go immediately to jail if the law so requires or if the court detennines in light of your conviction that detention is appropriate.


       (0 (t) The defendant shall not file for any additional governmental loans, benefits, or grants without Probation Office prior approval.

                        The defendant shall not register any new business entities or open any additional bank accounts without prior approval from the
        0) (u) Probation Office.
      ([/I) (v) All firearms, destructive devices or other weapons must be removed from her home before she returns to her residence.
      (I / I) (w) The defendant shall refrain from the use and possession of any form of marijuana
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AO 199C (Rev. 09/08) Advice of Penalties                                                                        Page      4   of   4    Pages

                                              ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:


YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:


       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive {i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to; obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - you will be fined
             not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony - you will be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                       Acknowledgment of the Defendant

        1 acknowledge that I am the defendant in this case and that I am aware of the conditions of release. 1 promise to obey all conditions
of release, to appear as directed, and surrender tos^ve' an    entence imposed. I am aware of the penalties and sanctions set forth above.




                                                          /


                                                                                          Defendant s Signature




                                                     Directions to the United States Marshal


(/) The defendant is ORDERED released after processing.
(    ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
        has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before
        the appropriate judge at the time and place specified.


Date:
                  3/21/2025                                                                         /S/
                                                                                                          M
                                                                                        Judicial Officer's Signature


                                                                          Summer L. Speight. U.S. Magistrate Judge
                                                                                          Printed name and title




                     DISTRIBUTION:         COUR'l'    DEFENDANT    PRETRIAL SERVICE       U.S. A'rrORNEY           U.S. MARSHAL
